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                       UNITED SETATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

____________________________________
NICOLE BINGHAM,                          )
individually and on behalf of all others )
similarly situated,                      )
                     Plaintiff           )
                                         )
v.                                       )          Civil No.
                                         )
                                         )
WENDY R. OLINSKY, d/b/a                  )
Law Office of Wendy R. Olinsky,          )
                     Defendant           )



                  COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff sues under the Fair Debt Collection Practices Act, 15 U.S.C. §1692(a) et

seq., and G.L. c. 93A to recover damages and to obtain injunctive relief due to

Defendant’s unlawful conduct in attempting to collect consumer debts.

                                          Parties

1. Plaintiff Nicole Bingham is an individual who at all relevant times has resided in

Dracut, Essex County, Massachusetts.

2. Defendant Wendy R. Olinsky is an individual who at times relevant to this complaint

was an attorney engaged in the practice of law in Methuen, Massachusetts.

                                 Jurisdiction and Venue

3. Plaintiff’s claims arise under 15 U.S.C. §1692 et seq. and this Court therefore has

subject matter jurisdiction over said claims pursuant to 15 U.S.C. §1692k(d) and 28

U.S.C. §1337. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. §1367

to hear and adjudicate Plaintiff’s claims arising under state law.
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4. Venue is proper in this district pursuant to 28 U.S.C. §1391(b).

                                    Statement of Facts

5. At times relevant to this complaint Defendant was a “debt collector” within the

meaning of 15 U.S.C. §1692a(6) and 209 CMR 18.02 because she regularly collected or

attempted to collect consumer debts which were owed or asserted to be owed to another.

For purposes of this complaint Defendant was also a “creditor” within the meaning of

940 CMR 7.03 because she was an attorney engaged in attempting to collect a consumer

debt on behalf of a creditor. As used in this complaint, the phrase “consumer debt”

means a financial obligation incurred primarily for personal, family, or household

purposes.

6. Defendant sent Plaintiff a collection letter dated October 17, 2013, which was the first

written communication from Defendant to Plaintiff regarding monies allegedly owed to

Laura J. Cervizzi, P.C. for legal services provided in connection with Plaintiff’s divorce.

The alleged debt was therefore “consumer” in nature.

7. Defendant’s letter of October 17, 2013, stated in pertinent part:

               [U]nless you notify us in writing that you dispute the validity
               of this debt or any portion thereof within 30 days of receipt of
               this notice, we will assume this debt to be valid. Upon your
               written request, we will mail you verification of the debt and
               the name and address of the original creditor, if different from
               the current creditor.

8. The above-quoted language purported to constitute the validation rights notice

required by 15 U.S.C. §1692(a), 209 CMR 18.18(1), and 940 CMR 7.08(1).

                                         COUNT I

9. The allegations of paragraphs 1 – 8 are incorporated herein as if fully set forth.




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10. The first sentence of the purported validation rights notice violated 15 U.S.C.

§1692g(a) because it imposed a writing requirement in order for Plaintiff to avoid having

Defendant assume the debt to be valid.

11. Plaintiff brings Count I of this complaint on behalf of herself and a class of persons

similarly situated. Class members are all persons to whom Defendant sent an initial letter

concerning a consumer debt within one year prior to the filing of this action that included

a validation rights notice with language identical or substantially similar to the first

sentence of the excerpt set forth in paragraph 7, above, and was not returned or otherwise

confirmed as undeliverable. Excluded from the class are Defendant and her current and

former officers, directors, employees, and agents. Plaintiff alleges that the letter

containing the unlawful language was a standard form letter which Defendant sent to all

consumer debtors, therefore class members are sufficiently numerous such that joinder is

impracticable.

12. There are issues of law and fact common to the class, which issues predominate over

any questions particular to individual class members. Common issues include whether

Defendant is a debt collector under the FDCPA and whether the subject letter violates the

FDCPA as alleged.

13. Plaintiff’s claim is typical in that it arises from the same unlawful conduct as the

claims of class members. Plaintiff and class members seek, and are entitled to, similar

relief.

14. Plaintiff will fairly and adequately represent the interests of class members. Plaintiff

is committed to a thorough and vigorous prosecution of this action, and has selected

counsel with substantial experience in consumer class action litigation. Neither Plaintiff




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nor counsel have any conflicts which would interfere with the successful prosecution of

this case.

15. A class action is manageable, and is also a superior method for resolving this

controversy since the claims all arise from a standard document and class members are

unlikely to file individual actions.

        WHEREFORE, Plaintiff prays that this Honorable Court:

        (i)     certify Plaintiff’s claim pursuant to Fed. R. Civ. P. 23;
        (ii)    appoint Plaintiff as class representative and the undersigned as class
                counsel;
        (iii)   award Plaintiff and class members statutory damages against Defendant;
        (iv)    award Plaintiff and class members costs and attorney’s fees against
                Defendant;
        (v)     award such further relief as shall be just and proper.

                                        COUNT II

16. The allegations of paragraphs 1 – 15 are incorporated herein as if fully set forth.

17. The first sentence of the validation rights notice violated 209 CMR 18.18(1), 940

CMR 7.08(1) and the FDCPA because it imposed a writing requirement in order for

Plaintiff to avoid having Defendant assume the debt to be valid. Therefore, the letter

violated G.L. c. 93A, §2.

18. As a result of Defendant’s unlawful language, Plaintiff was misinformed and misled

as to the nature and extent of her legal rights, hence Plaintiff sustained an injury which is

compensable under G.L. c. 93A.

19. On April 4, 2014, Plaintiff – through counsel – sent Defendant a demand for relief

pursuant to G.L. c. 93A, §9, which demand reasonably described the acts and practices

complained of and injuries suffered.




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20. Defendant received Plaintiff’s demand, and in a written response dated April 28,

2014, Defendant denied Plaintiff’s allegations and made no tender of settlement.

21. Defendant’s refusal to make a reasonable and timely written tender of settlement was

in bad faith with knowledge or reason to know that the conduct complained of violated

G.L. c. 93A, §2.

22. Plaintiff brings Count II of this complaint on behalf of herself and a class of persons

similarly situated. Class members are all persons to whom Defendant sent an initial letter

concerning a consumer debt within four (4) years prior to the filing of this action that

included a validation rights notice with language identical or substantially similar to the

first sentence of the excerpt set forth in paragraph 7, above, and was not returned or

otherwise confirmed as undeliverable. Excluded from the class are Defendant and her

current and former officers, directors, employees, and agents. Plaintiff alleges that the

letter containing the unlawful language was a standard form letter which Defendant sent

to all consumer debtors, therefore class members are sufficiently numerous such that

joinder is impracticable.

23. Plaintiff is similarly situated to individual class members, as shown by common

issues such as whether Defendant is a debt collector and/or creditor under Massachusetts

law and whether the subject letter violated G.L. c. 93A as alleged.

24. Plaintiff will fairly and adequately represent the interests of class members. Plaintiff

is committed to a thorough and vigorous prosecution of this action, and has selected

counsel with substantial experience in consumer class action litigation. Neither Plaintiff

nor counsel have any conflicts which would interfere with the successful prosecution of

this case.




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       WHEREFORE, Plaintiff prays that this Honorable Court:

       (i)       certify Plaintiff’s claim pursuant to G.L. c. 93A, §9(2);
       (ii)      appoint Plaintiff as class representative and the undersigned as class
                 counsel;
       (iii)     award Plaintiff and class members statutory damages;
       (iv)      award Plaintiff and class members costs and attorney’s fees;
       (v)       permanently enjoin Defendant from further use of the unlawful language
                 complained of;
       (vi)      award such further relief as shall be just and proper.

                                        COUNT III

25. The allegations of paragraphs 1 – 8 are incorporated herein as if fully set forth.

26. The second sentence of the validation rights notice violated 15 U.S.C. §1692g(a)

because it failed to inform Plaintiff that she had the right to dispute the debt or any

portion thereof in writing within thirty days, and that by doing so Plaintiff would be

entitled to receive verification of the debt or a copy of a judgment against her.

27. Plaintiff brings Count III of this complaint on behalf of herself and a class of persons

similarly situated. Class members are all persons to whom Defendant sent an initial letter

concerning a consumer debt within one year prior to the filing of this action that included

a validation rights notice with language identical or substantially similar to the second

sentence of the excerpt set forth in paragraph 7, above, and was not returned or otherwise

confirmed as undeliverable. Excluded from each class are Defendant and her current and

former officers, directors, employees, and agents. Plaintiff alleges that the letter

containing the unlawful language was a standard form letter which Defendant sent to all

consumer debtors, therefore class members are sufficiently numerous such that joinder is

impracticable.

28. There are issues of law and fact common to the class, which issues predominate over

any questions particular to individual class members. Common issues include whether



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Defendant is a debt collector under the FDCPA and whether the subject letter violates the

FDCPA as alleged.

29. Plaintiff’s claim is typical in that it arises from the same unlawful conduct as the

claims of class members. Plaintiff and class members seek, and are entitled to, similar

relief.

30. Plaintiff will fairly and adequately represent the interests of class members. Plaintiff

is committed to a thorough and vigorous prosecution of this action, and has selected

counsel with substantial experience in consumer class action litigation. Neither Plaintiff

nor counsel have any conflicts which would interfere with the successful prosecution of

this case.

31. A class action is manageable, and is also a superior method for resolving this

controversy since the claims all arise from a standard document and class members are

unlikely to file individual actions.

          WHEREFORE, Plaintiff prays that this Honorable Court:

          (i)     certify Plaintiff’s claim pursuant to Fed. R. Civ. P. 23;
          (ii)    appoint Plaintiff as class representative and the undersigned as class
                  counsel;
          (iii)   award Plaintiff and class members statutory damages;
          (iv)    award Plaintiff and class members costs and attorney’s fees;
          (v)     award such further relief as shall be just and proper.

                                          COUNT IV

32. The allegations of paragraphs 1 – 31 are incorporated herein as if fully set forth.

33. The second sentence of the validation rights notice violated 209 CMR 18.18(1), 940

CMR 7.08(1) and the FDCPA. Therefore, the letter violated G.L. c. 93A, §2.




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34. As a result of Defendant’s unlawful language, Plaintiff was misinformed and misled

as to the nature and extent of her legal rights, hence she sustained an injury which is

compensable under G.L. c. 93A.

35. On April 4, 2014, Plaintiff – through counsel – sent Defendant a demand for relief

pursuant to G.L. c. 93A, §9, which demand reasonably described the acts and practices

complained of and injuries suffered.

36. Defendant received Plaintiff’s demand, and in a written response dated April 28,

2014, Defendant denied Plaintiff’s allegations and made no tender of settlement.

37. Plaintiff brings Count IV of this complaint on behalf of herself and a class of persons

similarly situated. Class members are all persons to whom Defendant sent an initial letter

concerning a consumer debt within four (4) years prior to the filing of this action that

included a validation rights notice with language identical or substantially similar to the

second sentence of the excerpt set forth in paragraph 7, above, and was not returned or

otherwise confirmed as undeliverable. Excluded from each class are Defendant and her

current and former officers, directors, employees, and agents. Plaintiff alleges that the

letter containing the unlawful language was a standard form letter which Defendant sent

to all consumer debtors, therefore class members are sufficiently numerous such that

joinder is impracticable.

38. Plaintiff is similarly situated to individual class members, as shown by common

issues such as whether Defendant is a debt collector and/or creditor under Massachusetts

law and whether the subject letter violated G.L. c. 93A as alleged.

39. Plaintiff will fairly and adequately represent the interests of class members. Plaintiff

is committed to a thorough and vigorous prosecution of this action, and has selected




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counsel with substantial experience in consumer class action litigation. Neither Plaintiff

nor counsel have any conflicts which would interfere with the successful prosecution of

this case.

        WHEREFORE, Plaintiff prays that this Honorable Court:

        (i)     certify Plaintiff’s claim pursuant to G.L. c. 93A, §9(2);
        (ii)    appoint Plaintiff as class representative and the undersigned as class
                counsel;
        (iii)   award Plaintiff and class members statutory damages;
        (iv)    award Plaintiff and class members costs and attorney’s fees;
        (v)     permanently enjoin Defendant from further use of the unlawful language
                complained of;
        (vi)    award such further relief as shall be just and proper.


        Plaintiff claims trial by jury.


                                                 NICOLE BINGHAM, Plaintiff, by:

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